       Case 5:00-cr-40104-TC        Document 754     Filed 03/21/14    Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 United States of America,
                      Plaintiff,


                      vs.                            Case No. 00-40104-01, 02-JTM


 William Leonard Pickard, Clyde
 Apperson,
                      Defendants.




                             MEMORANDUM AND ORDER


       By its Motion to Clarify, the government seeks a determination that it is in

compliance with the court’s Order (Dkt. 751) requiring the submission of redacted and

unredacted copies of the Confidential Informant (CI) file. The government rests on its

earlier submissions, specifically the unredacted CI file, as reflected in the Supplemental

Record on Appeal to the Tenth Circuit (Dkt. 739, 740, 741), and the redacted version, as

exemplified in the government’s Vaughn index of objections, filed in N.D. Ca. No. 3:06-cv-

00185-CRB Dkt. 166. (Dkt. 749-1).

       The government’s earlier Memorandum of Law (Dkt. 749, at 15) references the

California Vaughn index, but does not explicitly state that it advances the same redactions

herein. The court takes the government’s present motion as an adoption of those
       Case 5:00-cr-40104-TC       Document 754       Filed 03/21/14    Page 2 of 2




redactions, and determines that the government is in compliance with the court’s directive.

       The government also requests that the court clarify its earlier Order to specify that

the disclosures rendered pursuant to the Order are not to be further disseminated by

counsel for the defendant, William K. Rork, to any other person without specific leave of

court. This restriction is in keeping with prior restrictions, and the court adopts the same

limitation herein.

       IT IS ACCORDINGLY ORDERED this 21st day of March, 2014, that the

government’s Motion to Clarify (Dkt. 753) is granted, as provided herein.




                                                  s/ J. Thomas Marten
                                                 J. THOMAS MARTEN, JUDGE
